        Case 10-46222-RG           Doc 18     Filed 02/02/11 Entered 02/02/11 14:52:17               Desc Main
                                              Document      Page 1 of 7
                                                                                                              Last revised 9/1/10
                                     UNITED STATES BANKRUPTCY COURT
                                                 New Jersey
IN RE:      Randall S.D Jacobs                                      CASE NO                        10-46222
            Jill W Jacobs
                                                                    JUDGE
                                             (Debtor)               CHAPTER                           13
CHAPTER 13 PLAN AND MOTIONS

   Original                                 Modified/Notice Required                Discharge Sought
   Motions Included                         Modified/No Notice Required             No Discharge Sought

Date:    2/2/11

                           THE DEBTOR HAS FILED FOR RELIEF UNDER CHAPTER 13
                                      OF THE BANKRUPTCY CODE.

                                        YOUR RIGHTS WILL BE AFFECTED.

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the
date of the confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the
Debtor to adjust debts. It contains an important supplement to Part 4 regarding secured claims. The supplement sets out
filing requirements for proofs of claim for secured claims, and requirements regarding claims secured by a security
interest in the debtor’s principal residence, including notice of payment changes and notice of fees, expenses and charges
incurred in connection with the claim after the bankruptcy case was filed. You should read these papers carefully and
discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it
must file a written objection within the time frame stated in the Notice. This Plan may be confirmed and become
binding, and included motions may be granted without further notice or hearing, unless written objection is filed
before the deadline stated in the Notice.

                    YOU SHOULD FILE A PROOF OF CLAIM BY THE DEADLINE STATED
                     IN THE NOTICE TO RECEIVE DISTRIBUTIONS UNDER ANY PLAN
                  THAT MAY BE CONFIRMED, EVEN IF THE PLAN REFERS TO YOUR CLAIM

Part 1: Payment and Length of Plan

        a. The Debtor shall pay $ 6,022.00 Monthly to the Chapter 13 Trustee, starting on December 1, 2010 for
        approximately 60 months.

        b. The Debtor shall make plan payments to the Trustee from the following sources:

                        Future Earnings

                        Other sources of funding (describe source, amount and date when funds are available):

        c. Use of real property to satisfy plan obligations:

                         Sale of real property
                         Description:
                         Proposed date for completion:

                         Refinance of real property
                         Description:
                         Proposed date for completion:

                         Loan modification with respect to mortgage encumbering property
                         Description:
                         Proposed date for completion:
            Case 10-46222-RG                          Doc 18           Filed 02/02/11 Entered 02/02/11 14:52:17                           Desc Main
                                                                       Document      Page 2 of 7


             d.                        The regular monthly mortgage payment will continue pending the sale, refinance or loan
                                       modification.

             e.                        Other information that may be important relating to the payment and length of plan:



Part 2: Adequate Protection

        a. Adequate protection payments will be made in the amount of $                                          to be paid to the Chapter 13 Trustee and
disbursed pre-confirmation to     (creditor).

        b. Adequate protection payments will be made in the amount of $                                          to be paid directly by the Debtor(s)
outside of the Plan, pre-confirmation to   [creditor].

Part 3: Priority Claims (Including Administrative Expenses)

All allowed priority claims will be paid in full unless the creditor agrees otherwise:
 Creditor                                                                    Type of Priority                                                   Amount to be Paid
 Trustee                                                                     Administrative Expenses                                                $ 36,126.00
 Mark Goldman, Esq.                                                          Attorney Fees                                                       Est. $ 2,500.00

 State of New Jersey                                                                                                                                  $ 7,197.00
 Internal Revenue Service                                                                                                                             $ 40,498.21

Part 4: Secured Claims

                                             Please see the supplement to this section containing
                                   information regarding secured claims. It is located at the end of the plan.

            a. Curing Default and Maintaining Payments

The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the
Debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:
                                                                                                                Interest                         Regular Monthly
                                                                                                               Rate on Amount to be Paid        Payment (Outside
 Creditor                                    Collateral or Type of Debt                         Arrearage     Arrearage to Creditor (In Plan)              Plan)
 BAC Home Loans Servicng LP                  1st mortgage arrears                             $ 38,000.00                       $ 38,000.00           $ 6,500.00

 Internal Revenue Service                    secured portion of claim                         $ 70,377.87                        $ 70,377.87                     n/a

            b. Modification

        1.) The Debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the "Value of the Creditor Interest in Collateral," plus interest as
stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured
claim is identified as having "NO VALUE" it shall be treated as an unsecured claim.

                                            NOTE: A modification under this section ALSO REQUIRES
                                           the appropriate motion to be filed under Section 7 of the Plan.
                                                                                                                            Value of
                                                                                                 Total                      Creditor      Annual
                                                                           Scheduled         Collateral                    Interest in    Interest Total Amount
 Creditor                         Collateral                                    Debt            Value     Superior Liens   Collateral        Rate to Be Paid
 -NONE-

                                                                                         2
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            Case 10-46222-RG                          Doc 18           Filed 02/02/11 Entered 02/02/11 14:52:17              Desc Main
                                                                       Document      Page 3 of 7



        2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed
secured claim shall discharge the corresponding lien.

            c. Surrender

         Upon confirmation, the stay is terminated as to surrendered collateral. The Debtor surrenders the following
collateral:
 Creditor                                                 Collateral to be Surrendered              Value of Surrendered       Remaining Unsecured
                                                                                                               Collateral                     Debt
 -NONE-

            d. Secured Claims Unaffected by the Plan

            The following secured claims are unaffected by the Plan:
               Creditor
               BMW Financial

            e. Secured Claims to be paid in full through the Plan
 Creditor                                                       Collateral                                   Total Amount to be Paid through the Plan


Part 5: Unsecured Claims

            a. Not separately classified Allowed non-priority unsecured claims shall be paid:

                         Not less than $                 to be distributed pro rata

             XX          Not less than 100 percent

                         Pro rata distribution from any remaining funds

            b. Separately Classified Unsecured Claims shall be treated as follows:
 Creditor                                                 Basis for Separate Classification   Treatment                             Amount to be Paid
 -NONE-

Part 6: Executory Contracts and Unexpired Leases

            All executory contracts and unexpired leases are rejected, except the following, which are assumed:
 Creditor                                                 Nature of Contract or Lease         Treatment by Debtor
 BMW Financial                                            Auto Lease                          debtors to continue making payments




                                                                                         3
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            Case 10-46222-RG                          Doc 18           Filed 02/02/11 Entered 02/02/11 14:52:17                    Desc Main
                                                                       Document      Page 4 of 7

Part 7: Motions

    NOTE: All plans containing motions must be served on all potentially affected creditors, together with a
    Chapter 13 Plan Transmittal Letter, within the time and in the manner set forth in D.N.J. LBR 3015-1. A
    Proof of Service must be filed with the Clerk of Court when the Plan and Transmittal Letter are served.

    Where a motion to avoid liens or partially avoid liens has been filed in the plan, a proof of claim filed that
    asserts a secured claim that is greater than the amount to be paid in the plan serves as opposition to the
    motion, and serves as an objection to confirmation. The proof of claim shall be served in accordance with
    D.N.J. LBR 3015-6(a). The creditor shall file a proof of service prior to the scheduled confirmation hearing.
    In order to prosecute the objection, the creditor must appear at the confirmation hearing, which shall be the
    hearing on the motion. Failure to appear to prosecute the objection may result in the motion being granted
    and the plan being confirmed pursuant to the terms as set forth in the plan.


        a. Motion to Avoid Liens under 11 U.S.C. Section 522(f). The Debtor moves to avoid the following liens that
impair exemptions:
                                                                                                                             Sum of All
                                                                                                             Amount of       Other Liens
                          Nature of                                                           Value of         Claimed       Against the   Amount of Lien
 Creditor                 Collateral                Type of Lien           Amount of Lien    Collateral      Exemption          Property    to be Avoided
 -NONE-

         b. Motion to Void Liens and Reclassify Claim from Secured to Completely Unsecured. The Debtor moves
to reclassify the following claims as unsecured and to void liens on collateral consistent with Part 4 above:
 Creditor                                                       Collateral                                                Amount of Lien to be Reclassified


        c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured. The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to
void liens on collateral consistent with Part 4 above:
                                                                                                          Amount to be Deemed                Amount to be
 Creditor                                                 Collateral                                                   Secured   Reclassified as Unsecured
 -NONE-

Part 8: Other Plan Provisions

            a. Vesting of Property of the Estate Property of the Estate shall revest in the Debtor:

                             X        Upon Confirmation

                                      Upon Discharge

        b. Payment Notices Creditors and Lessors provided for in Sections 4, 6 or 7 may continue to mail customary
notices or coupons to the Debtor notwithstanding the automatic stay.




                                                                                         4
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            Case 10-46222-RG                          Doc 18           Filed 02/02/11 Entered 02/02/11 14:52:17                    Desc Main
                                                                       Document      Page 5 of 7


            c. Order of Distribution The Trustee shall pay allowed claims in the following order:

                          1)           Trustee Commissions

                          2)           Other Administrative Claims

                          3)           Secured Claims

                          4)           Lease Arrearages

                          5)           Priority Claims

                          6)           General Unsecured Claims

        d. Post-petition claims The Trustee is , is not authorized to pay post-petition claims filed pursuant to 11
U.S.C. Section 1305(a) in the amount filed by the post-petition claimant. INTERNAL REVENUE SERVICE:

                         2010 Taxes - $ 50,000.00


Part 9 : Modification

If this plan modifies a plan previously filed in this case, complete the information below.

Date of Plan being modified:
Explain below why the Plan is being modified.                                                  Explain below how the Plan is being modified

Are Schedules I and J being filed simultaneously with this modified Plan?                                       Yes                  No
Part 10: Sign Here

            The debtor(s) and the attorney for the debtor (if any) must sign this Plan.

 Date
                                                                                         Mark Goldman, Esq. 8019
                                                                                         Attorney for the Debtor

            I certify under penalty of perjury that the foregoing is true and correct.
 Date                                                                        Signature
                                                                                           Randall S.D Jacobs
                                                                                           Debtor


 Date                                                                        Signature
                                                                                           Jill W Jacobs
                                                                                           Joint Debtor




                                                                                           5
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            Case 10-46222-RG                          Doc 18           Filed 02/02/11 Entered 02/02/11 14:52:17   Desc Main
                                                                       Document      Page 6 of 7


                                 SUPPLEMENTAL PROVISIONS OF CHAPTER 13 PLAN & MOTIONS

4. SECURED CLAIMS.

1. Additional Requirements; Sanctions for Failure to Comply

            (a) Itemized Statement of Interest Fees and Expenses. If, in addition to its principal amount, a claim includes
            interest, fees, expenses or other charges incurred before the petition was filed, an itemized statement of the
            interest, fees, expenses, or charges shall be filed with the proof of claim. The claim may also include charges
            pursuant to D.N.J. LBR 2016-1(j)(3).

            (b) Statement of Cure Amount. A statement of the amount necessary to cure any default as of the date of the
            petition and any charges permitted under D.N.J. LB 2016- 1(j)(3) shall be filed with the proof of claim.

            (c) Escrow Account. If a security interest is claimed in property that is the debtor’s principal residence, and if an
            escrow account has been established in connection with the claim, an escrow account statement prepared as of
            the date the petition was filed and in a form consistent with applicable nonbankruptcy law shall be filed with the
            attachment to the proof of claim.

            (d) Failure to Provide Supporting Information. If the holder of a claim fails to provide any information
            required by subdivisions (a), (b) and (c) above, the court may, after notice and hearing, take either or both of the
            following actions:

                        i. preclude the holder from presenting the omitted information, in any form, as evidence in any contested
                       matter or adversary proceeding in the case, unless the court determines that the failure was substantially
                       justified or is harmless, or

                          ii. Award other appropriate relief, including reasonable expenses and attorney’s fees caused by the
                         failure.

2. Notice Relating to Claims Secured by Security Interest in the Debtor’s Principal Residence

            (a) Notice of Payment Change. If a claim secured by a security interest in the debtor’s principal residence is
            provided for under the debtor’s plan pursuant to § 1322(b)(5) of the Code, the holder of the claim shall file and
            serve on the debtor, debtor’s counsel, and the trustee a notice of any change in the payment amount, including
            any change that results from an interest rate or escrow account adjustment, no later than 21 days before a
            payment at a new amount is due.

            (b) Form and Content. The Local Form designated as Notice of Payment Change may be filed and served. The
            notice shall not be subject to Rule 3001(f).

            c) Notice of Fees, Expenses and Charges. If a claim secured by a security interest in the debtor’s principal
            residence is provided for under the debtor’s plan pursuant to § 1322(b)(5) of the Code, the holder of the claim
            shall file and serve on the debtor, debtor’s counsel, and the trustee the Local Form designated as Notice of Fees,
            Expenses and Charges itemizing all fees, expenses, or charges, incurred in connection with the claim (i) after the
            bankruptcy case was filed, and (ii) that the holder asserts are recoverable against the debtor or against the
            debtor’s principal residence. The notice shall be served within 180 days after the date on which such fees,
            expenses, or charges are incurred.

            (d) Determination of Fees, Expenses and Charges. On motion of the debtor or trustee filed within one year
            after service of the notice required by subdivision (c) above, the court shall, after notice and hearing, determine
            whether payment of the fees, expenses, or charges is required by the underlying agreement and applicable
            nonbankruptcy law to cure the default or maintain payments in accordance with § 1322(b)(5) of the Code.

            (e) Response to Notice of Fees, Expenses and Charges. If the debtor does not object to the Notice of Fees,
            Expenses and Charges, or if the debtor’s objection is overruled, the debtor shall either 1) pay all post petition
                                                                                         6
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            Case 10-46222-RG                          Doc 18           Filed 02/02/11 Entered 02/02/11 14:52:17   Desc Main
                                                                       Document      Page 7 of 7

            amounts included in the Notice of Fees, Expenses and Charges; 2) enter into an agreed order allowing the claim
            (to be paid by the Trustee); or 3) take no action and the amounts claimed shall be deemed allowed, but will not be
            paid by the Trustee and will not be deemed to have been paid upon closure or conversion of the case.

            (f) Application of Payments. The holder of a claim secured by a security interest in the debtor’s principal
            residence shall apply payments from the Trustee to arrears being cured and payments from the debtor to maintain
            post-petition monthly payments.

            (g) Notice of Final Cure Payment. Within 30 days of the debtor completing all payments under the plan, the
            trustee shall file and serve upon the holder of the claim, the debtor, and debtor’s counsel a Local Form, Notice of
            Final Cure Payment stating that the debtor has paid in full the amount required to cure any default on the claim.
            The notice shall also inform the holder of its obligation to file and serve a response under subdivision (h). If the
            debtor contends that final cure payment has been made and all plan payments have been completed, and the
            trustee does not timely file and serve the notice required by this subdivision, the debtor may file and serve the
            Notice.

            (h) Response to Notice of Final Cure Payment. Within 21 days after service of the notice under subdivision
            (g), the holder shall file and serve on the debtor, debtor’s counsel, and the trustee a Local Form, Statement in
            Response to Notice of Cure Payment indicating whether (1) it agrees that the debtor has paid in full the amount
            required to cure the default on the claim, and (2) the debtor is otherwise current on all payments consistent with §
            1322(b)(5) of the Code. The statement shall itemize the required cure or postpetition amounts, if any, that the
            holder contends remain unpaid as of the date of the statement. The Statement shall not be subject to Rule 3001(f).

            (i) Determination of Final Cure Payment. On motion of the debtor or trustee filed within 21 days after service
            of the statement under subdivision (h) above, the court shall, after notice and hearing, determine whether the
            debtor has cured the default and paid all required postpetition amounts.

            (j) Order Deeming Mortgage Current. If the holder of the secured claim fails to respond to the Trustee’s
            Notice of Final Cure Payment given pursuant to subdivision (g) above, the debtor may submit a proposed order
            which deems the mortgage current. The proposed order shall be served on the holder of the secured claim and the
            trustee. The parties served with the order shall have 7 days to file and serve an objection. A hearing may be
            conducted on the objection in the court’s discretion.

            (k) Failure to Notify. If the holder of a claim fails to provide information required by subdivision (a), (c), or (h)
            above, the court may, after notice and hearing, take either or both of the following actions:

                     i. preclude the holder from presenting the omitted information, in any form, as evidence in any contested
            matter or adversary proceeding in the case, unless the court determines that the failure was substantially justified
            or is harmless, or

                         ii. award other appropriate relief, including reasonable expenses and attorney’s fees caused by the failure.




                                                                                         7
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